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 Attorney or Party Name, Address, Telephone & FAX Nos., State Bar No. &   FOR COURT USE ONLY
 Email Address
Elissa D. Miller
   emiller@sulmeyerlaw.com
333 South Grand Avenue, Suite 3400
Los Angeles, CA 90071
Telephone: 213-626-2311
Fax: 213-629-4520



     Individual appearing without attorney
     Attorney for:

                                          UNITED STATES BANKRUPTCY COURT
                                 CENTRAL DISTRICT OF CALIFORNIA - LOS ANGELES DIVISION

 In re:                                                                   CASE NO.: 2:20-bk-21022-BR
 Girardi Keese,
                                                                          CHAPTER: 7




                                                                            NOTICE OF SALE OF ESTATE PROPERTY


                                                            Debtor(s).

                                                                          Time: Bidding opens on or before 8/13/21 and will close on
 Sale Date: August 25, 2021
                                                                          8/25 starting at 10:30 a.m. p.d.t.
 Location: Internet only at www.360bid.sale

Type of Sale:         Public        Private                 Last date to file objections: n/a

Description of property to be sold:
Executive office furniture, business machinery and computer equipment, reception and conference room furnishings,
decorations and collectibles comprised of limited edition art, oriental rugs, sports memorabilia, wine, music memorabilia,
sculptures, vintage law and other rare books, a vintage piano, 2011 Cadillac DTS, plus office supplies, mail room
equipment, printers, plants and planters, etc.


Terms and conditions of sale:
As is where is. Auctioneer entitled to 18% buyer's commission. Pick up times commence on August 27, 2021 at Girardi
Former office location. Pick up date and time to be arrange with successful bidders following auction.



                     On an item or lot basis. Starting bid for
Proposed sale price: each item $1.00




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Overbid procedure (if any):




If property is to be sold free and clear of liens or other interests, list date, time and location of hearing:




Contact person for potential bidders (include name, address, telephone, fax and/or email address):

ThreeSixty Asset Advisors, LLC
805.496.8087, extension 110
support@360assetadvisors.com




Date: 7/27/2021




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                                      PROOF OF SERVICE OF DOCUMENT
I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:

333 South Grand Avenue, Suite 3400, Los Angeles, CA 90071

A true and correct copy of the foregoing document entitled: NOTICE OF SALE OF ESTATE PROPERTY will be served or
was served (a) on the judge in chambers in the form and manner required by LBR 5005-2(d); and (b) in the manner stated
below:

1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
07/28/2021 , I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:
See Attached




                                                                                    Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date) 07/28/2021 , I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.

Debtor
Girardi Keese
1126 Wilshire Blvd
Los Angeles, CA 90017-1904
                                                                                    Service information continued on attached page

3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on (date)                  , I served the
following persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to
such service method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration
that personal delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is
filed.




                                                                                    Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

07/28/2021                    Cheryl Caldwell                                          /s/Cheryl Caldwell
 Date                         Printed Name                                              Signature




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1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF):

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